                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                             )
       v.                                    )         CASE NO. 1:13-CR-59
                                             )
MICHAEL BLACKWELL                            )



                                           ORDER

       On November 20, 2013, Magistrate Judge William B. Mitchell Carter filed a Modified

Report and Recommendation recommending (a) the Court accept Defendant’s plea of guilty to

Count Two of the Superseding Indictment in exchange for the undertakings made by the

government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

set forth in Count Two of the Superseding Indictment; (c) that a decision on whether to accept the

plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

sentencing in this matter (Court File No. 41). Neither party filed an objection within the given

fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s modified

report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

judge’s modified report and recommendation (Court File No. 41) pursuant to 28 U.S.C. '

636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Count Two of the Superseding Indictment, in exchange for

the undertakings made by the government in the written plea agreement, is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Two of the

Superseding Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;




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and

      (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

March 6, 2014, at 9:00 am.

      SO ORDERED.

      ENTER:

                                   /s/____________________________
                                   CURTIS L. COLLIER
                                   UNITED STATES DISTRICT JUDGE




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